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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:17-cv-02550-MSK-NYW

   MARCO’S FRANCHISING, LLC, an Ohio limited liability company; and MP MARKS, LLC, a
   Delaware limited liability company,

          Plaintiffs,

   v.

   MARCO’S COAL FIRED PIZZA, INC., a Colorado corporation; MARCO’S COAL FIRED
   PIZZA GOLDEN, LLC, a Colorado limited liability company; MARCO’S COAL FIRED
   PIZZA CASPER, LLC, a Colorado limited liability company; MARCO’S VALLAGIO, LLC, a
   Colorado limited liability company; RACCA’S PIZZERIA NAPOLETANA, INC., a Colorado
   corporation; MARCO’S COAL FIRED PIZZERIA COLFAX, LLC, a Colorado limited liability
   company; MARK DYM, an individual; and KRISTY LATORRACA-DYM, an individual,

          Defendants.

   ______________________________________________________________________________

                PLAINTIFFS’ MOTION FOR ORDER TO SHOW CAUSE
            WHY DEFENDANTS SHOULD NOT BE HELD IN CIVIL CONTEMPT
                 FOR VIOLATIONS OF PRELIMINARY INJUNCTION


          Plaintiffs Marco’s Franchising, LLC and MP Marks, LLC respectfully request that this

   Court enter an order requiring the Defendants to show cause why they should not be held in civil

   contempt for violating multiple provisions of the preliminary injunction entered on July 23,

   2018, and ordering other relief the Court deems appropriate.

                                     STATEMENT OF CONFERRAL

          Pursuant to Local Rule 7.1, Plaintiffs’ state that they have conferred with Defendants’

   counsel about this motion. They communicated by letter and email laying out their concerns
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   with the Defendants’ failure to comply with the Court’s order, and before filing this Motion they

   asked Defendants whether they would oppose it. The Defendants oppose the relief requested.

                                            INTRODUCTION

          The Defendants have failed to comply with the Court’s Order Regarding Stipulated

   Motion for Entry of Preliminary Injunction issued on July 23, 2018, ECF No. 77 (the “Order”).

   Among other obligations, the Order required Defendants, by July 27, 2018, to cease use of the

   tradename “Marco’s Coal Fired Pizzeria” or the use of any tradename for restaurant operations

   that included “Marco’s” in conjunction with the words “Pizza” or “Pizzeria.” As detailed in this

   Motion, there is substantial evidence that the Defendants—from immediately after the deadline

   to today, a period of 82 days—have disregarded these requirements.

          There is strong evidence that the Defendants have willfully ignored the provisions of the

   Order—an Order that directly adopted language that the Defendants, through their counsel,

   negotiated, drafted, and agreed upon. For example, evidence shows that the Defendants changed

   advertising and branding on their menus used in restaurants to use both the violative “Marco’s

   Coal Fired Pizzeria” tradename and the new, agreed-upon “Marco’s Coal Fired” name and logo

   together on the same menus. Using these marks together indicates that these changes must have

   been made after the Order was issued, with an intent on the Defendants’ part to disregard their

   clear obligation to stop using the “Marco’s Coal Fired Pizzeria” name.

          The Plaintiffs have made repeated efforts to identify and resolve these issues with the

   Defendants, but after four weeks, the Defendants still have not complied with the Order, thereby

   forcing the Plaintiffs to seek the instant relief. Although the Plaintiffs acknowledge that some

   changes have slowly been made, many were made months after the compliance deadline and



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   only in response to Plaintiffs raising concerns. Substantial violations continue to this day, and

   the Plaintiffs continue to suffer damages as a result.

          Accordingly, the Plaintiffs respectfully submit that the Defendants should be ordered to

   show cause as to why they should not be held in contempt for violating the Court’s injunction

   Order. The Plaintiffs further respectfully request that the Court order all other equitable relief it

   deems appropriate, including but not limited to requiring Defendants to (1) provide a full

   accounting of all steps taken to comply with the injunction and file certifications of compliance

   with the Order; (2) pay daily fines until Defendants purge the contempt; and (3) pay Plaintiffs’

   costs and fees associated with bringing this motion.

                                         FACTUAL BACKGROUND

          A. Defendants Commit to Cease Using Infringing Tradenames and Logos.

          On May 22, 2018, Defendants asserted in their portion of the joint Proposed Scheduling

   Order that they would “immediately cease use of the tradename ‘Marco’s Coal Fired Pizzeria’ or

   the use of any tradename for restaurant operations that includes ‘Marco’s’ in conjunction with

   ‘Pizza/Pizzeria’” and would add a disclaimer to their website and menus disavowing an

   affiliation with or sponsorship from Plaintiffs. (ECF No. 59, at 5.) On July 10, 2018,

   Defendants again represented to the Court that they had “committed in a filing” to take actions to

   voluntarily remove “pizza” or “pizzeria” from their “public facing logos, signs, website and

   ultimately their menus, and add a disclaimer disavowing an affiliation with Plaintiffs,” and

   referenced their “willingness to keep their commitments.” (ECF No. 71.) Likewise, Defendant

   Mark Dym swore in a July 9, 2018 affidavit that “we decided to stop using the words pizza or

   pizzeria from the public facing part of our business (signs, logos, website, and ultimately menus),



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   and making sure, through a disclaimer, that our customers knew we were not associated with

   Plaintiffs in any way. . . . [T]his activity is largely complete.” (ECF No. 71-2).

          By mid-July 2018, in light of these representations by Defendants, the parties negotiated

   a stipulated preliminary injunction order to avoid a hearing on matters not in dispute.

   Defendants had the opportunity to draft, review, and negotiate language they felt was appropriate

   to govern their obligations going forward. On July 18, 2018 counsel for Defendants provided

   revisions to the proposed injunction language, suggesting these edits and the “more precise

   language [Defendants] earlier proposed makes for a less ambiguous order. The revisions we

   have made are what my clients will sign . . . .” See Ex. A. Plaintiffs accepted Defendants’

   proposed language and drafted a proposed order accordingly. Id. On July 20, 2018, Defendants’

   counsel accepted the proposed stipulation. Id. Counsel also requested that Plaintiffs’ counsel

   “please take a look at the website, signage, etc.” noting, “We think all of this is done, but I don’t

   want to revisit on the 27th if you disagree.” Id. The parties filed their Stipulation Motion for

   Entry of Preliminary Injunction on July 23, 2018. (ECF No. 76.)

          B. The Court Enters Its Preliminary Injunction Order.

          On July 23, 2018, the Court adopted the parties’ Stipulated Motion and their agreed-upon

   language. (ECF No. 77.) The Order states:

          1.      This preliminary injunction is to remain in effect through the pendency of
                  this litigation, unless earlier dissolved by the Court by agreement of the
                  parties.

          2.      The Dyms will cease use of the tradename “Marco’s Coal Fired Pizzeria,”
                  or the use of any tradename for restaurant operations that includes
                  “Marco’s” in conjunction with “Pizza”/”Pizzeria,” but will instead use the
                  name and logo, Marco’s Coal Fired, either alone or in conjunction with
                  other words. This change shall apply to the tradenames Defendants’ use in
                  commerce, interior and exterior signage, and future marketing and


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                  advertising. It will not apply to Defendants social media accounts, where
                  Marco’s Coal Fired Pizza or Pizzeria may still be used while this case is
                  pending, or to the continued use of the website, www.marcoscfp.com.

          3.      Defendants will include a disclaimer on its website and menus disclaiming
                  any affiliation with Plaintiffs or their branded Franchise outlets, which will
                  read as follows: NOT affiliated with, endorsed or sponsored by Marco’s
                  Pizza or Marco’s Franchising, LLC.

          4.      The Defendants will not build, open, or operate any restaurant of any brand
                  at the Colfax Location.

          5.      The deadline for Defendants to comply with the terms in Paragraphs 2 and
                  3 of this Order is July 27, 2018.

          C. Defendants Fail to Comply with the Order’s Deadline and Have Continued to
             Violate the Injunction Order.

          Defendants’ prior statements that they would “immediately” cease use of the tradenames

   and logos for “Marco’s Coal Fired Pizzeria,” and any use of “Marco’s” in conjunction with

   “pizza” or “pizzeria,” were inaccurate. Plaintiffs began to notice Defendants’ violations of the

   injunction, and in an attempt to avoid additional motions practice, Plaintiffs maintained records

   of the ongoing violations, including taking screenshots of websites and marketing materials,

   while engaging in efforts to confer with Defendants to resolve these violations.

          On September 18, Plaintiffs sent the Defendants a letter identifying numerous examples

   of current and ongoing violations, attaching screenshots of violations taken at 45 days and again

   at 53 days after the Court’s compliance deadline. See Ex. B and attached screenshots from

   September 10 and 18, 2018. Plaintiffs identified numerous examples of continued use of the

   “Marco’s Coal Fired Pizzeria” tradename and logo in marketing and advertising, including on

   various pages of Defendants’ website, www.marcoscfp.com. For example:

              The homepage stated, “At Marco’s Coal Fired Pizzeria we want to bring that
               feeling to you,” and “We look forward to seeing you at Marco’s Coal Fired


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              Pizzeria.” The page also pictured Mark Dym in a t-shirt with “Marco’s Coal Fired
              Pizzeria” logo.

             The pages for Defendants’ Press Kit, Press & Awards, and Privacy Policy used or
              linked to the “Marco’s Coal Fired Pizzeria” tradename and logo, including stating,
              “At Marco’s Coal Fired Pizzeria, pies are fired in imported, custom coal and wood
              ovens” and “Try Marco’s Coal-Fired Pizzeria Limoncello Chicken Wings,” and
              linking consumers to view awards given to “Marco’s Coal Fired Pizzeria.”

             The delivery and catering menus linked from the Order Online page used the
              “Marco’s Coal Fired Pizzeria” tradename and logo.

          Id. at 2–3. Plaintiffs also identified numerous examples of external marketing on third-

   party sites that continued to advertise “Marco’s Coal Fired Pizzeria,” with no indication that

   Defendants had taken any steps in the 53 days following the compliance deadline to conform

   their external advertising on sites like Google, Eater Denver, Trip Advisor, Grubhub, Open

   Table, Westword, and Zagat. See Ex. B; see also Ex. F (screenshots of violations on third-party

   sites on October 1 and 6, 2018). The Court’s required disclaimer also did not appear on

   electronic menus accessible from the Defendants’ website, and Defendants had not provided

   information regarding whether these disclaimers appeared on physical menus in its restaurants.

          Plaintiffs also identified ongoing uses of “Marco’s” in conjunction with “Pizza” or

   “Pizzeria,” including multiple violations on Defendants’ Racca’s Pizzeria Napoletana website,

   and on the main page of www.marcoscfp.com, where a “Pizza Fired by Passion” logo appears

   beneath the new, compliant “Marco’s Coal Fired” logo, and where the phrase “Pizza Fired by

   Passion” was (and continues to be today) listed in blacked-out text, viewable only when

   highlighted. See Screenshots, Ex. B. Plaintiffs requested that Defendants confirm and provide

   appropriate evidence of their full compliance with all requirements of the Order by September

   20, 2018. Id.



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          On September 21, 2018, Defendants’ counsel sent a response email. See Ex. C. Counsel

   asserted that Plaintiffs had pointed out “two months later [after his July 20 request for Plaintiffs

   to review changes], the few things on the website that were overlooked in the previous scrub.”

   Counsel also noted that, as a result of the letter, Defendants had now reached out to online

   delivery and reservation providers to help spur those providers to make changes to how they

   present Defendants’ restaurants. Id.

          Defendants’ counsel also asserted that the “Pizza Fired by Passion” logo box was “not

   connected at all with the Marco’s Coal Fired words and logo.” Id. Counsel did not address the

   blacking out of the phrase “Pizza Fired by Passion” immediately beneath the word Marco’s,

   viewable only by highlighting or searching, but noted Defendants’ position that the presence of

   the word “pizza” on the same page or website as the Marco’s Coal Fired tradename and logo

   should not constitute an extension of that tradename. Id. Counsel did not address how this

   position squares with Defendants’ prior statements in their court filings that they would remove

   the words “pizza” or “pizzeria” from their “public facing logos, signs, website, and ultimately

   their menus.” See ECF Nos. 71, 71-2. Counsel also noted that links to awards that reference the

   “Marco’s Coal Fired Pizzeria” tradename should not be considered a violation of the

   injunction. Counsel requested that Plaintiffs “wait until next week to see where the changes

   land.” Id.

          On September 29, 2018, counsel for Plaintiffs was on-site at Defendants’ Inverness

   restaurant location and identified numerous ongoing violations of the Order, including repeated

   use of the “Marco’s Coal-Fired Pizzeria” or “Marco’s Coal Fired Pizza” tradename and logo

   on the front door, on pizza and happy hour menus, on posters, on flyers for happy hour, delivery,



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   take-out, and catering, on servers’ uniforms, in bathrooms, on merchandise for sale, on to-go

   pizza boxes, and elsewhere. See Ex. E, Affidavit of N. DeWeese (detailing numerous violations

   and enclosing photographs). Counsel did observe disclaimer stickers on the outside pocket of

   certain (not all) menus, but also observed menus containing both the “Marco’s Coal Fired

   Pizzeria” and the “Marco’s Coal Fired” tradenames and logos together, directly next to each

   other on the same menu, with a third, hybrid logo stating only “Pizzeria.” See id. at ¶¶ 6–8.

          D. Plaintiffs Make a Renewed and Final Effort to Resolve Violations.

          On October 1, 2018, more than two months after the Court’s compliance deadline,

   Plaintiffs sent the Defendants another letter identifying ongoing violations of the Order and

   providing a chronology of Defendants’ past commitments to stop using the “Marco’s Coal Fired

   Pizzeria” tradename, and to remove the words “pizza” and “pizzeria” from their websites,

   menus, marketing, and advertising. See Ex. D. In a last-ditch effort to avoid the need to seek

   Court assistance, Plaintiffs allowed yet another cure period, requesting that Defendants provide a

   response by October 5, 2018 detailing their efforts made to correct the violations.

          Two days after the requested response date, on October 7, 2018, the Defendants sent an

   email stating that “[t]he agreement and stipulated preliminary injunction based on it did not

   contain any certification requirement,” and that “disclaimer stickers might fall off a menu, or be

   removed by a customer.” See Ex. C. Defendants declined to provide a list of or detail corrective

   actions taken, noting instead that “we are not aware of any corrections that need to be made to

   the website, or marketing and advertising outside of social media, that fall within the terms of the

   PI.” Id.




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                                              ARGUMENT

      1. This Court Has the Authority to Grant the Requested Relief.

          Plaintiffs seek an order requiring Defendants to show cause why they should not be held

   in contempt for their multiple violations of the Order. The Court has broad discretion in using its

   contempt powers to require adherence to its orders. See, e.g., Eighth Dist. Elec. Pension Fund v.

   Elec. Forces LLC, No. 07-CV-01465-LTB-CBS, 2011 WL 1399691, at *2 (D. Colo. Mar. 28,

   2011). A civil contempt sanction is designed to coerce a contemnor to take actions required by a

   mandatory court order, providing the opportunity to purge the contempt by complying with the

   underlying order. Id.

          A judicial finding of civil contempt requires the movant to prove by clear and convincing

   evidence, that (1) a valid court order existed; (2) the defendant had knowledge of the order; and

   (3) the defendant violated or disobeyed the order. See id. at *3–4; see also FTC. v. Kuykendall,

   371 F.3d 745, 756–57 (10th Cir. 2004). Once the movant establishes a prima facie case, the

   burden shifts to the alleged contemnor to produce evidence at a show-cause hearing that it did

   not violate the court’s order or was excused from compliance. Eighth District, at *4 (citing

   Chairs v. Burgess, 143 F.3d 1432, 1436 (11th Cir. 1998)). A contemnor may be excused from

   complying by demonstrating its inability to comply, but this burden requires proof “beyond the

   mere assertion of an inability.” Id. Instead, the contemnor must demonstrate that it has made “in

   good faith all reasonable efforts to comply.” Id. (citations omitted). Where the goal is

   Defendants’ compliance with the Order, the court “must consider the character and magnitude of

   the harm threatened by the continued contumacy, and the probable effectiveness of any




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   suggested sanction in bringing about the result desired.” Id. at *5 (citing O’Connor v. Midwest

   Pipe Fabrications, Inc., 872 F.2d 1204, 1211 (10th Cir. 1992)).

          As demonstrated below, Plaintiffs have satisfied the conditions to establish a prima facie

   case of civil contempt by clear and convincing evidence, and the Court may ultimately impose

   contempt sanctions against Defendants.

      2. The Preliminary Injunction Was Valid and Unambiguous.

          There is no question the July 23, 2018 Order is a valid and unambiguous court order, and

   that Defendants had knowledge of it. The parties negotiated, drafted, and proposed the Order’s

   language to the Court by stipulation. In fact, Defendants rejected Plaintiffs’ proposed language,

   insisting on their own proposed language in the final proposed stipulation. See Ex. A.

   Defendants cannot now argue that they didn’t understand their own language, wholly adopted by

   the Court, especially when their own counsel wrote that Defendants’ was the “more precise

   language . . . [that] makes for a less ambiguous order.” Ex. A.

      3. Defendants Have Violated and Continue to Violate the Order.

          The Defendants have been making representations to Plaintiffs and to the Court over a

   period of many months, even prior to the Order, that they would immediately cease using the

   “Marco’s Coal Fired Pizzeria” tradename and logo and “Marco’s” in conjunction with “pizza” or

   “pizzeria,” and would remove the words “pizza” and “pizzeria” from their customer-facing

   materials like menus, signs, and other marketing and advertising. Although Defendants may

   have initially “scrubbed” their materials (Plaintiffs still are not certain what that means or what

   activities and changes took place back in July, prior to the Order), the Court nevertheless

   imposed a strict deadline of July 27, 2018 to ensure full compliance with the terms of the Order.



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   That deadline came and went with ongoing violations, and without any communication from

   Defendants about what activities they had undertaken to comply with the Order. And

   Defendants did not communicate about their injunction obligations until nearly two months later

   in their September 21, 2018 response email to Plaintiff’s detailed list of violations sent on

   September 18, 2018. See Ex. B, attaching screenshots of violations. Even then, Defendants did

   not provide specifics and were non-committal about correcting identified violations.

          Importantly, in addition to numerous violations of the Order at their Inverness restaurant

   location, as identified by Plaintiffs, Defendants may have gone beyond simply ignoring or

   delaying their obligations. For example, Defendants appear to be purposefully violating the

   Order through substantial use of the old, violative “Marco’s Coal Fired Pizzeria” tradename and

   logo together with and directly next to the new, compliant “Marco’s Coal Fired” tradename and

   logo on the same menus—menus that are distributed to customers in the Inverness restaurant,

   and presumably in the Ballpark and other locations, as photographed below:




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         Photograph, September 29, 2018, showing “Marco’s Coal-Fired Pizzeria,” “Marco’s Coal Fired,” and
         “Pizzeria” tradenames and logos together on same menu, a smaller menu contained inside a larger, pocket
         menu and distributed to customers throughout the restaurant. See also Image 7, Ex. E, attached to Affidavit
         of Nicholas M. DeWeese. No disclaimer appeared on this menu or other smaller happy-hour or table
         menus. See Ex. E, Affidavit of N. DeWeese, at ¶ 6; see, e.g., Ex.E, Image 5, showing table feature menu
         without disclaimer sticker.




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          Photograph, September 29, 2018, of large, laminated pocket menu showing “Marco’s Coal Fired Pizzeria”
          tradename and logo on lower left and in black and orange background sections, together with “Marco’s
          Coal Fired” and “Pizzeria” tradenames and logos, while simultaneously including the Court’s required
          disclaimer on a small sticker. See Ex. E, Image 2; see also Ex. E, Affidavit of N. DeWeese, at ¶¶ 5–8.

          See Ex. E, Aff. of N. DeWeese, enclosing sixteen Inverness restaurant photographs.

          This does not appear to be an “inadvertent” error or something “overlooked in the

   previous scrub,” but rather, a purposeful effort to design menus that include both logos, together

   with a third, hybrid logo stating just “Pizzeria” with smoke underneath, a logo Plaintiffs had not

   seen previously. See Ex. E, Aff. at ¶¶ 7–8, Images 2–4, 6–7. It is unclear when Defendants

   created these menus and this branding, but the exterior menu contained the disclaimer sticker

   required by the Order. Given the Order’s July 23 requirement to use only the “Marco’s Coal

   Fired” logo (one of the three included on these menus, and from what Plaintiffs understand, only



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   entered into use by Defendants at or right around the time of the Order), Defendants apparently

   designed this layout after the Order, purposefully retaining the old “Marco’s Coal Fired Pizzeria”

   name. Even with the presence of a small disclaimer sticker on certain of the outside, pocket

   menus (not on all smaller menus), Defendants’ purposeful concurrent use of these marks on its

   marketing is confusing to customers—the exact confusion underlying the purpose for the Order.

          As another example, the Marco’s Coal-Fired homepage at www.marcoscfp.com continues

   to use the logo and phrase “Pizza Fired By Passion” immediately underneath the word “Marco’s”

   in the new logo, but that phrase is blacked out unless highlighted after searching for the word

   “Pizza.” See screenshot taken October 10, 2018:




          Although unclear why Defendants have blacked out this phrase, it is difficult for

   Defendants to assert that the phrase and this language is not an intentional use of the word

   “pizza” in conjunction with “Marco’s,” something expressly prohibited by Paragraph 2 of the

   Order, which bars the use of “any tradename for restaurant operations” that includes “Marco’s”

   in conjunction with “Pizza” or “Pizzeria.” The words are used concurrently and in combination

   with one another, juxtaposed and positioned directly next to each other on the webpage—again,


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   what the Order intends to preclude. And another “box” logo with the “Pizza Fired by Passion”

   phrase appears near the bottom of the page, beneath the “Marco’s” name. See Ex. B

   Screenshots, e.g., Oct. 10, 2018 Attachment at p. 1, and Oct. 18, 2018 Attachment at pp. 1–3.

          Perhaps most unsettling is the Defendants’ professed lack of awareness of the multitude

   of ongoing violations in its restaurants. See, e.g., Ex. C (Defendants’ counsel’s October 7

   statement that “we are not aware of any corrections that need to be made to . . . marketing or

   advertising outside of social media, that fall within the terms of the PI.”); see also Ex. E, Aff. of

   N. DeWeese (detailing numerous violations at the Inverness restaurant location, 64 days after the

   deadline for compliance). As documented by detailed photographs, see Ex. E, these numerous

   ongoing violations prevent Defendants from arguing that they have made “in good faith all

   reasonable efforts to comply” with the Order. See Eighth District, 2011 WL 1399691, at *4.

          Finally, even where Defendants slowly made changes to certain of their materials, it is

   unclear when these changes were made or what specific efforts were taken to comply with the

   Order. Although there is no certification requirement in the Order, Defendants have provided

   virtually no information about their compliance efforts. It appears Defendants maintain that at

   least some changes may have been made in an “initial scrub” shortly before the July 23, 2018

   Order, but Plaintiffs continued to identify numerous violations beginning immediately after the

   Order was entered. And Plaintiffs did not hear from Defendants until after they sent notice on

   September 18, 2018 — 53 days after the compliance deadline. See Ex. B and Screenshots dated

   September 10, 2018 (45 days out), and September 18, 2018 (53 days out). Although some

   changes appear to have taken place approximately 55–60 days after the date for compliance,




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   Defendants again have been vague in terms of specifying what changes were made and when.1

   See Ex. D (Plaintiffs’ Oct. 1 letter, noting continued frustration with ongoing violations and no

   response). While Plaintiffs had no obligation to do so, it was only through their own diligence in

   monitoring Defendants’ compliance that they were able identify these ongoing violations. Every

   indication suggests that if Plaintiffs hadn’t raised their concerns, Defendants’ violations would

   have continued unabated, especially as many have plainly continued to date, 82 days after the

   compliance deadline.

       4. Defendants Should Be Required to Show Cause Why They Should Not Be Held in
          Civil Contempt.

          Given these facts and circumstances, civil contempt sanctions are appropriate to force

   Defendants’ compliance with the Court’s Order. There is substantial, clear, and convincing

   evidence of Defendants’ violations well beyond the compliance deadline — violations that

   continue to cause the potential for – if not actual – marketplace and consumer confusion, one of

   the key issues in this case. And Plaintiffs continue to suffer damages each day they continue.

          Defendants simply cannot produce factual evidence to meet their burden showing that

   they did not violate the Court’s Order, or that they should be somehow excused from


   1
     Defendants may argue that their counsel’s July 20 email request, sent before the order was
   issued, asking Plaintiffs to “please take a look at the website, signage, etc.” and noting “[w]e
   think all of this is done, but I don’t want to revisit on the 27th if you disagree” should somehow
   excuse their non-compliance. See Ex. A. That argument is misplaced. Plaintiffs had no
   obligation to review Defendants’ materials for compliance; that duty falls on the Defendants.
   And regardless of whether Plaintiffs responded to counsel’s vague email request, Defendants still
   have violated and continue to violate the Order. Put simply, Defendants cannot now try to hang
   their numerous, demonstrable violations on an email exchange, particularly when Defendants
   made no additional efforts to correspond on this issue; Plaintiffs did not hear from Defendants
   until 56 days after the compliance deadline, after Plaintiffs sent their initial conferral letter.




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   compliance. The Order’s language, drafted and approved by Defendants, was clear and

   unambiguous. Defendants have no good excuse for not abiding by their own commitments to the

   Court, and the language of the Order which required that they would immediately cease use of

   “Marco’s Coal Fired Pizzeria” and stop using the words “pizza” or “pizzeria” in consumer-

   facing materials, or in conjunction with the word “Marco’s” — particularly when the evidence

   undoubtedly demonstrates that Defendants continue to use these violative tradenames and logos

   in their restaurants and materials. And the half-hearted changes Defendants did make could not

   have been made in good faith with the Order or its compliance deadline, when such changes

   were only undertaken months after that deadline, and only after Plaintiffs were forced to raise the

   issue of Defendants’ noncompliance.

          With every indication that violations will continue without the Court stepping in, “the

   character and magnitude of the harm threated by the continued contumacy” supports a finding of

   civil contempt and an order of sanctions against Defendants as necessary and appropriate relief

   to compel compliance. See Eighth District, 2011 WL 1399691, at *5.

                                              CONCLUSION

          Plaintiffs respectfully submit that the Court should grant this Motion and require

   Defendants to show cause why they should not be held in civil contempt for violations of the

   Preliminary Injunction Order. Plaintiffs further request that the Court order all other relief it

   deems appropriate, including but not limited to requiring Defendants to (1) provide a full

   accounting of all steps taken to comply with the injunction and file ongoing certifications of

   compliance with the Order; (2) pay daily fines until Defendants purge the contempt; and (3) pay

   Plaintiffs’ costs and fees associated with bringing this motion.



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   Respectfully submitted this 17th day of October, 2018.

                                               /s/ James G. Sawtelle
                                               James G. Sawtelle
                                               Nicholas M. DeWeese
                                               Christopher M. Jackson
                                               Sherman & Howard, L.L.C.
                                               633 17th Street, Suite 3000
                                               Denver, CO 80202
                                               Tel: (303) 297-2900
                                               Fax: (303) 298-0940
                                               Email: jsawtelle@shermanhoward.com
                                                       ndeweese@shermanhoward.com
                                                       cjackson@shermanhoward.com


                                               Attorneys for Plaintiffs




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                                    CERTIFICATE OF SERVICE
         I certify that on October 17, 2018, I filed Plaintiff’s Motion for Order to Show Cause
   Why Defendants Should Not be Held in Civil Contempt for Violations of Preliminary Injunction
   via CM/ECF and served a copy on the following counsel of record:
          Valissa Tsoucaris
          Tsoucaris Law
          3000 Holly Street
          Denver, CO 80207
          (303) 229-1090
          valissa@tsoucarislaw.com

          Tim Atkinson
          Kira Suyeishi
          Ireland Stapleton Pryor & Pascoe
          717 17th Street, Suite 2800
          Denver, CO 80202
          (303) 623-2700
          tatkinson@irelandstapleton.com
          ksuyeishi@irelandstapleton.com

          Attorney for Defendants



                                                     /s/ Patricia Rendoff
                                                     Sherman & Howard, L.L.C.




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